     Case 4:15-cv-00225-O Document 331 Filed 03/07/18               Page 1 of 7 PageID 8913


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


 CAREY D. EBERT,                                  §
                                                  §
          Plaintiff,                              §
                                                  §
 v.                                               §       Civil Action No. 4:15-cv-00225-O
                                                  §
 MICHAEL GUSTIN et al.,                           §
                                                  §
          Defendants.                             §


                                              ORDER

         Before the Court are Defendants Howard Miller Appel and Ernest A. Bartlett, III’s

(collectively “Separate Defendants”) Motion for Reconsideration (ECF No. 322), filed February

5, 2018; and Defendant John Paul DeJoria’s (“DeJoria”) Motion for Reconsideration (ECF No.

324), filed February 5, 2018. The motions have been fully briefed and are ripe for review.

         For the reasons stated below, the Court finds that Separate Defendants’ Motion for

Reconsideration (ECF No. 322) should be and is hereby DENIED; and DeJoria’s Motion for

Reconsideration (ECF No. 324) should be and is hereby DENIED.

I.       BACKGROUND

         Plaintiff Carey D. Ebert (“Ebert” or “Plaintiff”), the Trustee for the Chapter 11 estate of

Latitude Solutions, Inc. (“LSI”), alleged that Defendants conducted a complex, fraudulent

enterprise to control and manipulate LSI, its subsidiaries, and its stock. Specifically, Plaintiff

alleged that two groups of corporate insiders and co-conspirators—the “First Board” and the

“Second Board,” respectively—misused LSI, its creditors, and its shareholders, by perpetrating a




                                                  1
    Case 4:15-cv-00225-O Document 331 Filed 03/07/18                    Page 2 of 7 PageID 8914


“pump-and-dump”1 scheme. 2d Am. Compl. ¶ 12, ECF No. 34. Plaintiff alleged that the Second

Board, all of whom were corporate fiduciaries, partnered with the First Board to continue this

fraudulent scheme. Id. She also alleged that the Second Board deliberately disregarded warning

signs from LSI’s management, thereby violating its fiduciary duty, acting in its own self-interest,

grossly mismanaging LSI’s business, and squandering corporate assets. Id. ¶ 1. She further alleged

that the combination of the First and Second Boards’ fraud and corporate waste caused LSI to go

bankrupt, leaving creditors with as much as $40 million in debt owed. Id.

        The trial was held for five consecutive days between July 10, 2017, and July 14, 2017. See

Min. Entries, ECF Nos. 279–84. On July 14, 2017, the jury found that Cohen and DeJoria breached

their fiduciary duty to LSI (Jury Question 1); and that Appel, Bartlett, and DeJoria each aided and

abetted Cohen’s breach of fiduciary duty to LSI (Jury Question 2). Jury Charge 6–7, ECF No. 287.

The parties then submitted the post-trial motions. See ECF Nos. 294, 296, 297. The Court issued

an order on January 22, 2018, finding sufficient evidence to support the jury verdict against the

Separate Defendants and DeJoria, and finding them jointly and severally liable for Defendant

Matthew Cohen’s (“Cohen”) breach of fiduciary duty by virtue of the jury finding that they each

aided and abetted Cohen’s breach. See Jan. 22, 2018 Order, ECF No. 320. The Parties then filed

the motions for reconsideration at issue here. See ECF Nos. 322, 324.

II.     LEGAL STANDARD

        A motion to reconsider under Rule 59(e) “calls into question the correctness of a

judgment.” Templet v. HydroChem Inc., 367 F.3d 473, 478 (5th Cir. 2004) (quoting In re

Transtexas Gas Corp., 303 F.3d 571, 581 (5th Cir. 2002)). Further, a Rule 59(e) motion “serve[s]


1
  “In a typical pump-and-dump, corporate insiders in a micro-cap give themselves stock in a company,
intentionally manipulate the stock’s price through press releases, marketing, and illegal trades, and then
unload their shares at extravagant profits before letting the company die.” Pl.’s 2d Am. Compl. 31, ECF
No. 34.
                                                    2
  Case 4:15-cv-00225-O Document 331 Filed 03/07/18                   Page 3 of 7 PageID 8915


the narrow purpose of allowing a party to correct manifest errors of law or fact or to present newly

discovered evidence.” Id. at 479. “‘Manifest error’ is one that ‘is plain and indisputable, and that

amounts to a complete disregard of the controlling law.’” Brush v. Wells Fargo Bank, N.A., 911 F.

Supp. 2d 445, 480 (S.D. Tex. 2012) (quoting Guy v. Crown Equip. Corp., 394 F.3d 320, 325 (5th

Cir. 2004)); see also Bank One, Tex., N.A. v. FDIC, 16 F. Supp. 2d 698, 713 (N.D. Tex. 1998)

(Fitzwater, J.) (“[A] ‘manifest error’ is an obvious mistake or departure from the truth.”).

          Additionally, a Rule 59(e) motion is “not the proper vehicle for rehashing evidence, legal

theories, or arguments that could have been offered or raised before the entry of judgment.”

Templet, 367 F.3d at 479 (citing Simon v. United States, 891 F.2d 1154, 1159 (5th Cir. 1990)); see

also Berge v. GE Oil & Gas, No. H-08-2931, 2011 WL 798204, at *3 (S.D. Tex. 2011)

(“Importantly, a ‘Rule 59(e) motion is not proper to re-litigate matters that have been resolved to

the movant’s dissatisfaction and [movant] cannot have a second bite at the apple on the same issues

that were previously addressed by the parties and this Court.’”) (quoting Alvarado v. Tex. Rangers,

No. EP-03-CA-0305-FM, 2005 WL 1420846, at *2 (W.D. Tex. 2005)). Courts have significant

discretion in deciding whether to grant a motion to reconsider, but the Fifth Circuit has cautioned

that a Rule 59(e) motion is “an extraordinary remedy that should be used sparingly.” See Jones v.

Stephens, 998 F. Supp. 2d 529, 536 (N.D. Tex. 2014) (Means, J.) (citing Templet, 367 F.3d at 479);

see also Riddle v. DynCorp. Int’l Inc., 773 F. Supp. 2d 647, 649 (N.D. Tex. 2011) (Lindsay, J.)

(“[T]he Fifth Circuit has observed that Rule 59(e) ‘favor[s] the denial of motions to alter or amend

a judgment.’”) (quoting S. Constructors Grp., Inc. v. Dynalectric Co., 2 F.3d 606, 611 (5th Cir.

1993)).

III.      ANALYSIS

          A. DeJoria’s Motion for Reconsideration



                                                  3
  Case 4:15-cv-00225-O Document 331 Filed 03/07/18                   Page 4 of 7 PageID 8916


       DeJoria asks the Court to reconsider its finding that DeJoria is jointly and severally liable

for the $6.9 million in compensatory damages awarded against Cohen. DeJoria’s Mot. Recon. 4,

ECF No. 324. DeJoria argues: (1) that the plain language of the Jury Charge provides, at most,

$1.5 million in liability as to DeJoria; (2) the Texas Supreme Court recently clarified that liability

for aiding and abetted a breach of fiduciary duty requires an analysis of each wrongful act and

specifically whether the knowing and substantial assistance provided by the aider and abettor

proximately caused the plaintiff’s damages. Id. (citing First United Pentecostal Church of

Beaumont v. Parker, 514 S.W.3d 214 (Tex. 2017)); see Jury Charge 6–8, ECF No. 287.

       First, DeJoria argues that the plain language of the Jury Charge precludes a finding that

DeJoria is liable for the damages caused by Cohen’s breach. Specifically, DeJoria points to

Question 3, in which the jury found a damage amount of $1.5 million against DeJoria in response

to the Court’s question of “[w]hat sum of money, if any, if paid now in cash, would fairly and

reasonably compensate Carey Ebert, as LSI’s trustee, for the damages, if any, that were

proximately caused by any breach of fiduciary duty or aiding and abetting such breach of fiduciary

duty by that defendant?” Jury Charge 8, ECF No. 287 (emphasis added). DeJoria argues that the

jury’s finding means that, at most, DeJoria is liable for $1.5 million in damages. DeJoria’s Mot.

Recon. 4, ECF No. 324. This argument was not only previously considered by the Court in the

jury charge conference—where the Court crafted Question 3 after considering the parties’

arguments—it was also raised, considered, and rejected in the Court’s consideration of the parties’

post-trial motions. See Pl.’s App. Opp. DeJoria Mot. Recon. 9–10, 15–17 (Jury Charge Conf.),

ECF No. 287 (“Mr. FARRELL: ‘Let’s say Cohen is found $100,000 for breach, DeJoria is found

not independently liable for his own breach but then he is found to have aided and abetted, then

that just means he’s jointly and severally liable for the $100,000.’”); Jan. 22, 2018 Order 24–25,



                                                  4
  Case 4:15-cv-00225-O Document 331 Filed 03/07/18                  Page 5 of 7 PageID 8917


ECF No. 320. Here, the jury found DeJoria independently liable for $1.5 million in damages based

on his breach of fiduciary duty. Jury Charge 8, ECF No. 287. The jury also found as a matter of

fact that DeJoria aided and abetted Cohen’s breach. Id. at 7. As determined by the Court in its

January 22, 2018 Order, and addressed infra, as a matter of law, DeJoria is jointly and severally

liable for aiding and abetting the full amount of Cohen’s breach.

       Next, DeJoria cites Parker for the proposition that “liability for aiding and abetting a

fiduciary breach . . . requires an analysis of each wrongful act and specifically whether the knowing

and substantial assistance provided by the aider and abettor proximately caused the damages

claimed by the plaintiff.” DeJoria’s Mot. Recon. 9, ECF No. 324 (citing Parker, 514 S.W.3d at

224–25). DeJoria argues that for him to be jointly and severally liable for Cohen’s breach, there

must be proof that he knowingly and substantially assisted Cohen in the specific breach that caused

the $6.5 million in damages to LSI. Id.

       The Court notes that this argument was raised and argued in DeJoria’s response to

Plaintiff’s motion to submit a proposed final judgment. See DeJoria’s Resp. Pl’s Mot. Final J. 2,

7–8, ECF No. 302 (citing Parker, 514 S.W.3d at 224–225). DeJoria essentially argues now that

the Court committed manifest error when it failed to apply Parker to relieve him and the Separate

Defendants from joint and several liability in its January 22, 2018 Order. The Court agrees that

Parker does instruct a court to analyze the wrongful acts of a defendant to determine whether they

knowingly or substantially assisted the underlying breach of fiduciary duty. But here, in contrast

to the facts of Parker, there is evidence that DeJoria knew of and substantially assisted in Cohen’s

breach. The jury determined that, from the testimony and evidence presented at trial, DeJoria aided

and abetted Cohen, see Jury Charge 6–7, ECF No. 287, and the Court’s post-verdict analysis

concluded there was evidence in the record that DeJoria knew about Cohen’s actions before,



                                                 5
  Case 4:15-cv-00225-O Document 331 Filed 03/07/18                    Page 6 of 7 PageID 8918


during, and after LSI incurred damages. See Jan. 22, 2018 Order 23–24, ECF No. 320. The Court

finds that Parker is factually distinguishable from the case at hand, and as such, concludes that an

imposition of joint and several liability is proper and supported by Texas law. See Kinzbach v.

Corbett-Wallace Corp., 160 S.W.2d 509, 512–14 (Tex. 1942); Orchestratehr, Inc. v. Trombetta,

No 3:13-cv-2110-KS-BH, 2016 WL 4563348, at *5 (N.D. Tex. Sept. 1, 2016). Accordingly,

DeJoria’s motion for reconsideration is DENIED.

       B. Separate Defendants’ Motion for Reconsideration

       Separate Defendants incorporate the arguments made by DeJoria into their motion for

reconsideration, which for the reasons stated above are DENIED. They also raise an additional

argument, which the Court considers below.

       Separate Defendants argue that the Court erred when it found that Howard Appel and

Ernest Bartlett were jointly and severally liable for the $6.9 million in compensatory damages

awarded against Cohen based on an application of Texas case law addressing the common law tort

of aiding and abetting breach of fiduciary duty. Br. Supp. Separate Defs.’ Mot. Recon. 1, ECF No.

323. They argue that “the cases relied upon by the Court [in its January 22, 2018 Order] were

decided prior to adoption of the 1995 tort reform amendments . . . [that] abolish joint and several

liability” for intentional torts absent a finding of more than fifty percent responsibility. Id. (citing

TEX. CIV. PRAC. & REM. CODE § 33.013(b)). But Texas courts have consistently found that once a

derivative tort, such as aiding and abetting, has been established, the third party is liable for the

acts of the original defendant’s breach, and apportionment of fault is immaterial. See Heat Shrink

Innovations, LLC v. Medical Extrusion Technologies-Texas, Inc., 2014 WL 5307191, *6–7 (Tex.

App.—Fort Worth 2014) (“It is unnecessary to submit a question to the jury to apportion liability

[for aiding and abetting breach of fiduciary duty]; Heat Shrink’s liability is Wolfe’s liability”);



                                                   6
  Case 4:15-cv-00225-O Document 331 Filed 03/07/18                       Page 7 of 7 PageID 8919


Rosell v. Ctr. W. Motor Stages, 89 S.W.3d 643, 656–57 (Tex. App.—Dallas 2002, pet denied).

The Court’s findings in its January 22, 2018 Order are consistent with Texas courts’ conclusions

made after the 1995 tort reform amendments and does not amount “to a complete disregard of the

controlling law.’” Cf. Brush, 911 F. Supp. 2d at 480 (quoting Guy, 394 F.3d at 325). Therefore,

the Court finds that it did not commit manifest error in imposing joint and several liability for

aiding and abetting breach of fiduciary duty.2

        Accordingly, Separate Defendants’ motion for reconsideration is DENIED.

IV.     CONCLUSION

        For the reasons stated below, the Court finds that Separate Defendants’ Motion for

Reconsideration (ECF No. 322) should be and is hereby DENIED; and DeJoria’s Motion for

Reconsideration (ECF No. 324) should be and is hereby DENIED.

        SO ORDERED on this 7th day of March, 2018.



                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




        2
           To the extent that Separate Defendants argue that Plaintiff failed to prove the damages sought
with regard to Appel and Bartlett’s roles in Cohen’s breach, the Court has already addressed this argument
at length in its sufficiency of the evidence analysis. Br. Supp. Separate Defs.’ Mot. Recon. 3, ECF No. 323;
Separate Defs.’ Reply 5, ECF No. 328. The Court detailed sufficient evidence of damages incurred by LSI
by and through Appel and Bartlett’s actions. See Jan. 22, 2018 Order 14–15, 17–18, ECF No. 320.


                                                     7
